          Case: 2:22-mj-00203-CMV Doc #: 1 Filed: 03/23/22 Page: 1 of 30 PAGEID #: 1


  AO 106 (Rev 04/ 10) Apphcauon for a Search Warrant
                                                                                                                       cs
                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Southern District of Ohio

                 In the Matter of the Search of
                                                                        )
           (Briefly describe the property to be searched                )
            or identify the person by name and address)
                                                                        )          Case No.   2:22-mj-203
The residence located 1605 Koebel Road, Columbus, Ohio                  )
            43207-2744, including curtilage                             )
                                                                        )

                                             APPLICATION FOR A SEARCH WARRANT
          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
  penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
  property to be searched and give its location):

   SEE ATTACHMENT A INCORPORATED HEREIN BY REFERENCE

  located in the            Southern                District of             Ohio               , there is now concealed (identify the
  person or describe the property to be seized):

   SEE ATTACHMENT B INCORPORATED HEREIN BY REFERENCE


            The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                   r/
                    evidence of a crime;
                   ri contraband, fruits of crime, or other items illegally possessed;
                   0 property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

            The search is related to a violation of:
              Code Section                                                         Offense Description
          18 USC Section 922(g)(1)                   Felon in possession of a firearm
          21 USC 841                                 Possession of a controlled substance
            The application is based on these facts:
          SEE ATTACHED AFFIDAVIT INCORPORATED HEREIN BY REFERENCE

            fiContinued on the attached sheet.
            0 Delayed notice of        days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                   ~~         Applicant's signature




  Sworn to before me and signed in my presence.


  Date:       3/23/2022

  City and state: Columbus, Ohio
Case: 2:22-mj-00203-CMV Doc #: 1 Filed: 03/23/22 Page: 2 of 30 PAGEID #: 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR _ Southern
                                    _ _ _District
                                            ___   of _
                                                     Ohio
                                                       _ __


 IN THE MATTER OF THE SEARCH OF: The
 premises located at 1605 KOEBEL RD,
 COLUMBUS, OH 43207-2744, including                  Case No. _2:22-mj-203
                                                                 _ _ _ _ _ __
 curtilage.



                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE


       I, Samuel Chappell being first duly sworn, hereby depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND


        1.     I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the premises known as 1605 Koebel Road,

Columbus, Ohio 43207, hereinafter "PREMISES," further described in Attachment A, for the

things described in Attachment B.


       2.      I am a Columbus Ohio Police Officer (Columbus Police Department) currently

assigned as a Task Force Officer (TFO) with the Bureau of Alcohol Tobacco, Firearms and

Explosives (ATF). The Columbus Division of Police (CPD) has employed me since 2007. My

responsibilities as a Task Force Officer include the investigation of violent criminal street gangs,

narcotics traffickers, firearm traffickers, as well as the illegal possession and use of firearms. I

have participated in numerous investigations of criminal violations relating to illegal firearms

possession, firearms trafficking, and shooting investigations. I have participated in the execution
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of search warrants and arrests related to the above-referenced offenses. By virtue of my experience

and training, I am familiar with residential search warrants. Throughout this Affidavit, reference

to "investigators" specifically refers to criminal investigators.

        3.     This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.


       4.      Based on my training and experience, I am familiar with the manner and means

commonly employed by drug traffickers, including those employed to avoid detection by law

enforcement. I am also familiar with the terminology and slang commonly employed by drug

traffickers. In my training and experience, I have observed and examined cocaine, cocaine

base ("crack"), heroin, marijuana, methamphetamine, oxycodone, heroin, fentanyl, and

other controlled substances that are, by themselves, illegal to possess. I am aware of the prices

commonly charged on the street for these substances, the method of packaging, and the jargon

used in their trade. During my law enforcement career, I have received specialized training

regarding the activities of narcotics traffickers, including the methods used to package, store,

and distribute narcotics, and the methods used by narcotics traffickers to conceal and launder

the proceeds of their narcotics trafficking activities.

        5.     I have participated in various aspects of drug-related investigations. I have

participated in controlled purchases of controlled substances utilizing confidential sources and

undercover law enforcement agents and officers. I have prepared affidavits submitted in




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federal court in support of applications for criminal complaints, search warrants, tracking

warrants, and/or arrest warrants. I have participated in numerous investigations involving a

variety of investigative techniques, including physical and electronic surveillance methods;

controlled purchases; the analysis of a wide variety of records and data, including pen register

and trap and trace data as well as cell phone location data; and the debriefing of defendants,

informants, and witnesses, as well as others who have knowledge of the distribution,

transportation, storage, and importation of controlled substances.

       6.     Through investigations, my training and experience, and conversations with

other law enforcement officers, I have become familiar with the methods used by narcotics

traffickers to distribute, transport, store, import, and safeguard-controlled substances. I know

that narcotics trafficking organizations have developed a number of methods to insulate their

illegal activities from law enforcement detection. For instance, I know that members of

narcotics trafficking organizations routinely utilize electronic communications facilities,

including cellular telephones and mobile messaging applications such as Snapchat, to

communicate operational directives and information concerning the conduct of the

organization's illegal activities to other organization members; that organization members

routinely use coded references in an effort to avoid law enforcement detection; and that the

communication of time-sensitive information is critical to the successful conduct of these

organizations' illegal activities . I am also familiar with narcotics traffickers' use of prepaid

cellular and cellular phones, normal land line phones, public phones, debit calling cards,


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counter-surveillance, and the use of false and/or fictitious identities. Finally, I am familiar

with the coded language used by narcotics traffickers during conversations in an attempt to

disguise the true meaning of their conversations.

       7.      I also know, from my training and experience that "cell phones and the services

they provide are 'such a pervasive and insistent part of daily life' that carrying one is

indispensable to participation in modern society." Carpenter v. United States, 138 S. Ct. 2206,

2220 (citing Riley v. California, 573 U.S., at_, 134 S. Ct. 2473, 2484 (2014))


       8.      Specifically, to this search warrant through training and experience I know that

individuals who traffick in narcotics frequently utilize cell phones to take photographs and

videos of their narcotics. These photographs and videos are often posted to social media using a

cell phone. These same individuals also utilize cellphones, to include calls, texts, and social

media applications, to arrange the purchase and sale of narcotics.


       9.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter. I have

not omitted any facts that would negate probable cause.

        10.    Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of Title 18, United States Code, Section

922(g)(l) Felon in Possession of a Firearm and Title 21, United States Code, Section 841

Distribution of a Controlled Substance and have been committed by KRONK and his



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associates. There is also probable cause to search the PREMISES described in Attachment

A for evidence, instrumentalities, and/or fruits of these crimes, as further described in

Attachment B.


                       APPLICABLE STATUTES AND DEFINITIONS

         11.    Title 18, United States Code, Section 922(g)(l) makes it a federal crime for a person

to knowingly possession a firearm after being convicted of a crime punishable by imprisonment

for a term exceeding one year.

         12.    Title 21, United States Code, Section 841 makes it a federal crime for any person

to manufacture, distribute, or dispense, or possess with intent to manufacture, distribute or

dispense a controlled substance. Subsection (b) of this section makes cocaine, cocaine base,

heroin, N-phenyl-N-[ 1-(2-phenylethyl)-4-piperidinyl] propanamide, commonly referred to as

fentanyl, and any of their isomers controlled substances.

               BACKGROUND REGARDING ACTIVITIES OF DRUG TRAFFICKERS

         13.    Your affiant has learned through training and experience the ways in which
narcotics traffickers conduct their business, including methods of distributing narcotics, the use
of home-based telephones and the use of cellular telephones, and the use of vehicles to facilitate
their illegal activities. Your affiant's training and experience as a CPD detective and an ATF
TFO form the basis of the opinions and conclusions set forth below. Based on your affiant's
training, experience, and the experience of other officers, detectives, and agents, your affiant is
aware:




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      a. that narcotics traffickers often place assets in names other than their owner and/or
         use fictitious identification to avoid detection of these assets by government
         agencies or local law enforcement;

      b. that even though these assets are in other persons' names the narcotics traffickers
         continue to exercise dominion and control;

      c. that narcotics traffickers must maintain and finance their ongoing narcotics
         activities, as well as for paying bills, acquiring assets, and making other purchases;

      d. that it is common for narcotics traffickers to maintain books, records, receipts,
         notes, ledgers, airline tickets, bus tickets, rental car receipts, receipts relating to the
         purchase of financial instruments and/or the transfer of funds, and other papers
         relating to the transportation, ordering, purchasing, processing, storage, sale and
         distribution of drugs, and the collection of its proceeds. That the aforementioned
         books, records, receipts, notes, ledgers, etc., are maintained where the narcotics
         traffickers have ready access to them;

      e. that it is common for narcotics traffickers to secrete contraband, proceeds of drug
         sales, records of drug transactions, large amounts of currency, financial instruments,
         precious metals, jewelry, and other items of value; and evidence of financial
         transactions relating to obtaining, transferring, secreting, and spending large sums
         of money made from engaging in narcotics trafficking activities in secure locations
         within their residences and/or other locations over which they maintain dominion
         and control, in order to have ready access to them;

      f.   that it is common for persons involved in narcotics trafficking to maintain evidence
           pertaining to their obtaining, secreting, transfer, concealment, and/or expenditure of
           narcotic proceeds, such as: currency, financial instruments, precious metals and
           gem stones, jewelry, books, records, invoices, receipts records of real estate
           transactions, bank statements and related records, passbooks, money drafts, letters
           of credit, loan records, money orders, bank drafts, cashier checks, bank checks, wire
           transfers, safe deposit box keys and money wrappers. These items are maintained
           by the narcotics traffickers within their residences and/or other locations which they
           maintain dominion and control;

      g. that when drug traffickers amass a large amount of proceeds from the sale of drugs,
         the drug traffickers attempt to legitimize these profits;




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       h. that to accomplish these goals, narcotics traffickers utilize, including, but not
          limited to, foreign and domestic banks and their attendant services, Western Union
          and other wire transfer or Money Service Businesses sales agents, check cashing
          services, real estate agents, securities brokers, accountants, attorneys, business
          fronts, and otherwise legitimate businesses which generate large quantities of
          currency;

       1.   that narcotics traffickers often utilize electronic equipment such as currency
            counting machines, telephone answering machines, telephone caller identification
            boxes, and cellular telephones in their drug activities;

      j.    that drug traffickers often take or cause to be taken photographs/video tapes of
            themselves, their associates, their property, and their products. These traffickers
            usually maintain these photographs/video tapes in their residences and/or other
            locations in which they maintain dominion or control, including on electronic
            devices which are used to post such photographs/videos on social media or other
            websites or applications;

       k. that the sale of controlled dangerous substances, generates large quantities of
          United States currency (aka, street money);

       I. that is common for drug dealers to separate their "street money" by denomination
          and put this currency in rubber banded stacks in varying $1,000 increments to
          facilitate quick counting;

       m. that the Currency Transaction Report (CTR - IRS Form 4789), which is required to
          be completed and filed with the Internal Revenue Service by all financial
          institutions on every currency transaction which exceeds $10,000, causes
          tremendous problems for narcotics traffickers when they attempt to negotiate their
          illegal profits at a financial institution;

       n. that in order to evade the filing of a Currency Transaction Report (CTR), narcotics
          traffickers often "structure" their currency transactions so that no one transaction
          exceeds $10,000 or they provide false or misleading information in an attempt to
          legitimize or conceal the source and/or ownership of the currency;

       o. that narcotics traffickers commonly maintain addresses or telephone numbers in
          books or papers, which reflect names, addresses and/or telephone numbers of their




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              suppliers, customers, and other associates involved in their narcotics trafficking
              organization;

         p. that drug traffickers commonly have in their possession, that is on their person, at
            their residences and/or other locations over which they maintain dominion and
            control, firearms, including but not limited to: handguns, pistols, revolvers, rifles,
            shotguns, machine guns, and other weapons. Said firearms are used to protect and
            secure a drug trafficker's property. Such property may include, but is not limited to:
            narcotics, jewelry, narcotics paraphernalia, books, records, and U.S. Currency; and

         q. that courts have recognized unexplained wealth is probative evidence of crimes, in
            particular, trafficking in narcotics.



                                     CRIMINAL HISTORY


       14.      KRONK has the following felony convictions that could result in a sentence of

more than one year in prison.

             a. On or about November 30, 2001, KRONK was sentenced in the Franklin County,

                Ohio Court of Common Pleas, Case 0 1CR00 1416, for one ( 1) count of discharging

                a firearm, a felony of the second degree.

             b. On or about November 10, 2003, KRONK was sentenced in the Franklin County,

                Ohio Court of Common Pleas, Case 02CR005374, for four (4) counts of trafficking

                in drugs, which are felonies of the fourth degree, and one count of receiving stolen

                property, a felony of the fourth degree.




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              c. On or about November 30, 2010, KRONK was sentenced in the Franklin County,

                 Ohio Court of Common Pleas, Case IOCR000615, for one ( 1) count of possession

                 of drugs, a felony of the third degree.

                                        PROBABLE CAUSE

        15.      This Affidavit is submitted for the limited purpose of establishing probable cause

and therefore contains only a summary of the relevant facts. I have not included each and every

fact that I, or others, have learned during the course of this investigation. The information set forth

in this Affidavit is based on my own participation in the investigation, information I have received

from other law enforcement officials, and from my other agents' analysis of documents and records

relating to this investigation. As one of the case agents on this investigation, I am familiar with

the investigative efforts of other investigators who have worked on this investigation. Further, I

am familiar with the evidence gathered through the issuance of search warrants, subpoenas, and/or

information provided to myself and other agents by cooperating individuals.

        16.      Law enforcement, including ATF and CPD, is conducting a criminal investigation

of Matthew KRONK for firearm and narcotics related offenses.

        17.      On or about September 2, 2021, investigators received information from a reliable

Confidential Informant (Cl), hereinafter referred to as CS 1. CS l has given credible information

in the past that investigators have been able to independently verify as accurate. CS I is an associate

of KRONK and has known him for several years.




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       18.     CSl stated a male named Matthew KRONK is a large narcotics dealer in the south

side of Columbus, Ohio. CS 1 stated KRONK sells large amounts of Percocet pills, cocaine, and

marijuana. CSI stated KRONK owns a home at 1605 Koebel Rd (the SUBJECT PREMISES)

where KRONK stores his illegal narcotics, firearms, and bulk cash he makes selling narcotics.

CS 1 stated KRONK recently purchased a home at 2665 S. High St. and used the proceeds from

his narcotic sales to completely remodel the home._

       19.     On or about March 1, 2022, CS l provided additional information to investigators.

CS 1 stated KRONK was living at the SUBJECT PREMISES. CS 1 stated KRONK had moved his

firearms and narcotics into the SUBJECT PREMISES from another residence. CS 1 stated KRONK

has an extensive surveillance system and a large dog at the SUBJECT PREMISES. CS l stated

that KRONK had recently purchased a black Jeep. Investigators were able to independently

corroborate several of CS l's statements via physical and electronic surveillance. In addition, the

investigation has indicated that, as detailed below, KRONK did recently purchase a black Jeep.

       20.     On October 5, 2021, at approximately 5:08 am, investigators from the ATF Crime

Gun Enforcement Team conducted a trash pull from 2665 S. High St, Columbus Ohio 43207.

Detectives found an Ohio BMV registration card that was in Matthew KRONK's name, mail from

United Healthcare that was addressed to Matthew KRONK, an advertisement mail that was in

Matthew KRONK's name, a hospital bracelet that was in Matthew KRONK's name with his birth

date of 9/3/ I 992, a WOW internet bill that was in Matthew KRONK' s name that listed Matthew

KRONK's phone number as (614) 256-6758, an AEP Ohio bill in Matthew KRONK's name and



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a pill bottle that had Matthew KRONK's name on the bottle. All the mail and documents that had

Matthew KRONK's name on them listed an address of 1605 Koebel Rd.

       21.     Investigators located a clear plastic bottle that had suspected marijuana stuck to the

bottle, two clear plastic baggies that contained a small amount of suspected marijuana that was left

in the baggies and a clear plastic baggie with the initials "QP" printed on the baggie. investigators

believe that the "QP" stands for quarter pound which would have been the weight of marijuana

packaged in the clear plastic baggie. Detectives also located two used syringes.

       22.     Investigators located what is believed to be two drug ledgers. The suspected drug

ledgers had names investigators believe to be code name for narcotics with a number after the

name that Detectives believe to be the dollar amount. Of note a Franklin County Auditors search

conducted on December 8, 2021, continued to reflect the owner's name of 2665 S. High St

Columbus, Ohio as being Brian M. Daniel 5609 Sims Rd Groveport, Ohio 43125 he is listed as

owning this property since December 17, 2019. The Auditor's 2021 fair market value of the

property is listed at $95,800.

       23.     On or about March 23, 2022, a federal search warrant 2:22-MJ-l 83 (Attachment C)

was executed at the SUBJECT PREMISES. During the search of the residence investigators found

bulk US currency hidden outside in a grill. Investigators estimate the US Currency to be several

thousand dollars. A photograph of the money is pictured below.




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       24.     Inside the residence in a bedroom investigators found two firearms in plain view.

The firearms are described as Glock, Model 19, 9mm pistol, bearing serial number ACKE47 I and

a Smith & Wesson, Model M&P Bodyguard, .380 caliber pistol, bearing KBZ8816. In the same

bedroom investigators observed a TV that had a live feed of the cameras from around the residence.

       25.     In the attic investigators found a locked safe whose contents are unknown. Also, in

the attic investigators found multiple rubber bands consistent with the type used to hold money.

       26.     Inside a container in a bedroom investigator found a bin with bulk marijuana as

pictured below.




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       27.    Investigators found ledgers in the home that they believe document marijuana sales.

                                  FINANCIAL ACTIVITY


       28.    Records received from the Ohio Department of Taxation show that KRONK filed

personal income returns from 2016-2020 as summarized below KRONK has not filed any

business tax returns from 2016-2021.

                                  2016          2017       2018         2019          2020

Federal adjusted gross income ($4207)       ($7525)    $28,600     $13,202        $38,493

Low-income credit                  $88.00




                                              13
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       29.    On or about February IO, 2022, KRONK purchased a 2017 Black Jeep Grand

Cherokee SRT. KRONK registered the vehicle to the SUBJECT PREMISES. The Kelley Blue

Book Value for this vehicle in good condition with 80,000 miles is $41,021.

                                        CONCLUSION


       30.    I submit that this affidavit supports probable cause for a warrant to search the

PREMISES described in Attachment A and seize the items described in Attachment B.


                                                    Respectfully submitted,


                                                       ~~
                                                    Samuel Chappell
                                                    Task Force Officer
                                                    ATF

       Subscribed and sworn to before me
       on March 23, 2022:




                                               14
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                                      ATTACHMENT A

                                    Property to be searched


       The place to be searched is the residence described below, including all its appurtenances,

parking areas, outdoor working areas, vehicles, and detached buildings:

        The SUBJECT PREMISES, that being 1605 Koebel Road, Columbus, Ohio 43207, is a

single-family one-story home with an attic. The residence has cream-colored siding and a red

wooden fence around it. A gravel driveway leads from the road to front door. There is a black

mailbox with the numbers 1605 located at the beginning of the driveway. A photo of the location

is attached.
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                                         ATTACHMENT B

                                         Property to be seized


       1.        All records and evidence relating to violations of, Title 21 United States Code,

Section 841 (Distribution of Controlled Substance) and Title 18 USC Section 922(g)( I) (felon in

possession of a firearm), those violations involving KRONK and associates, including:

            a. Illicit controlled substance

            b. Cellular phones and other electronic communication devices including iPads.

            c. Surveillance equipment

            d. Firearms, ammunition, and firearm accessories

            e. Books, records, notes, ledgers, and other papers relating to the transportation,

                 purchase, distribution, packaging, and sale of controlled substances which may be

                 maintained in either paper form or on computers;

            f.   Cash, currency, currency counters, financial instruments, and records relating to

                 controlled substances, expenditure of proceeds of drug transactions, fraud and,

                 and evidence of financial transactions relating to obtaining, transferring, secreting,

                 or spending of large sums of money made from engaging in drug trafficking, and

                 fraud;

            g. Bank and other financial institution records consisting of savings, loans, records

                 of deposits, statements, letters of credit, money orders, cashier checks, passbooks,

                 cancelled checks, certificates of deposit, lease agreements, customer account

                 information, income and expense summaries, cash disbursement journals,

                                                   2
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              financial statements, state and federal income tax returns, information related to

              the receipt and other disposition of income, and related financial information

              pertaining to the purchase, lease, sale or other disposition of real or personal

              property, including real estate, automobiles, jewelry, and furniture;

         h. Proof of residency, including but not limited to cancelled mail, deeds, leases,

              rental agreements, photographs, personal telephone books, diaries, utility and

              telephone bills, statements, identification documents and keys;

         i.   Safe deposit box lease agreements and safe deposit keys;

         J·   Narcotics paraphernalia

         k. Any safes, vaults, or secured storage equipment that could secret any of the above

              listed items, and the contents therein. With the ability to open by force if

              necessary;




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                                                        ATfACHMENT C
  AO 106 (Rev 04/10) Apphcat1on for a Search Warrant
                                                                                                                           cs
                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Southern District of Ohio

                 In the Matter of the Search of                          )
           (Briefly describe the property lo be searched                 )
            or identify tire person by name and address)                 )          Case No. 2:22-mj-183
The residence located 1605 Koebel Road, Columbus, Ohio                   )
                 43207-2744, including curtilage                         )
                                                                         )

                                              APPLICATION FOR A SEARCH WARRANT
          I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
  penalty of perjury that I have reason to believe that on the following person or property (identify tlie perso11 or describe the
  property lo be searched and give its locat/011)
    SEE ATTACHMENT A INCORPORATED HEREIN BY REFERENCE
  located in the             Southern               District of              Ohio               , there is now concealed (identify the
  person or describe the properf>' to be ui;ed):

    SEE ATTACHMENT B INCORPORATED HEREIN BY REFERENCE

            The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                 ri evidence ofa crime;
                 !fl contraband, fruits of crime, or other items illegally possessed;
                   a   property designed for use, intended for use, or used in committing a crime;
                   a   a person to be arrested or a person who is unlawfully restrained.
            The search is related to a violation of:
                 Code Section                                                       Offense Description
          1a use Section 922(g)(1)                   Felon in possession of a firearm

            The application is based on these facts:
          SEE ATTACHED AFFIDAVIT INCORPORATED HEREIN BY REFERENCE

             i
             •
                  Continued on the attached sheet.
                  Delayed notice of
                                                                        ::y~
                                           days (give exact ending date if more than 30 days:
                  under 18 U.S.C. § 3103,, the basis of which 1,
                                                                                                                           ) is requested



                                                                                               App/icam ·s sfgnat11re

                                                                                          Samuel Chappell, TF_9 ATF
                                                                                               Printtd name and f/11,

  Sworn to before me and signed in my presence.
                                                                      --V~\.z--~•
                                                                              Chelsey      . Vascura
                                                                                                      v~
  Date:       3/ 17--'/-=20
                          =2=2' - - - -                                       United       tes Magistrate Jqc;lge.._
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  City and state: Columb_u-'
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AO 93 (Re,· 11113) ~arch and Seizure Warrant                                                                                       cs
                                            UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 Southern District of Ohio

                   In the Matter of the Search of                                 )
              (Briefly describe thtt property to be searched                      )
               or ldemify tire person b)• name and address)                       )       Case No. 2:22-mj-183
   The residence located 1605 Koebel Road, Columbus, Ohio )
                     43207-2744, including curt~age                               )
                                                                                  )

                                                   SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the          Southern            District of                 Ohio
(identify tire ptrso11 or describe /he propertJ to be seardred mu/ gil'e ils location):

      SEE ATTACHMENT A INCORPORATED HEREIN BY REFERENCE




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (idtnlif>•t!Joe person or d~Kribf 1l,e properiJ•to be sei:edJ:

      SEE ATTACHMENT B INCORPORATED HEREIN BY REFERENCE




          YOU ARE COMMANDED to execute this warrant on or before                                 3/3 l /2022               (not to nceed J.I da)"I)
      r/ in the daytime 6:00 a.m. to I0:00 p.m.                  C:, at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                  Any United States Magistrate
                                                                                                            ~~~----
                                                                                                       (Umted Stalts Magistrale J11dge)

    CJ Pursuant to I 8 U.S.C. § 3 I 03a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, wil I be searched or seized (clleclc the appropriale box)
    CJ for          days (not to exceed JOJ CJ until, the facts justifying, the later specific date of


Date and time issued:


City and state:
                                  3/17/2022 at 11:43am

                              Columbus. Ohio
                                                                                            ~~-~@-
                                                                                                ' U.S. Magistrate Judge Chelsey M. Vascura
                                                                                                             Printed name and litlt
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AO 93 (Rev lllll) Sean:h and Seizure Warrant (Page 2)

                                                                    Return
Case No.:                              I Date and time warrant executed:           I
                                                                                   Copy of warrant and inventory left with:

Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:




                                                                 Certlfil'llflon


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                          E.uc111ing officer '1 s1gna11.re


                                                                                             Print,d namt and 1,tft
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO

  IN THE MATTER OF THE SEARCH OF
  The premises located at 1605 KOEBEL                Case No. 2:22-mj-183
  RD, COLUMBUS, OH 43207-2744,
  including curtllage.                               Filed Under Seal


                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

        J.      I, Samuel Chappell, being first duly sworn, hereby depose and state as follows:

                      I. INTRODUCTION AND AGENT BACKGROUND

        2.      I make this Affidavit in support of an application for a search warrant under Federal

 Rule of Criminal Procedure 41 to authorize law enforcement to search the premises known as 1605

 Koebel Road, Columbus, Ohio 43207, hereinafter referred to as the "SUBJECT PREMISES,"

 further described in Attachment A, for the items described in Attachment B.

        3.      I am a Columbus Ohio Police Officer (Columbus Police Department) currently

 assigned as a Task Force Officer (TFO) with the Bureau of Alcohol Tobacco, Firearms and

 Explosives (ATF). The Columbus Division of Police (CPD) has employed me since 2007. My

 responsibilities as a Task Force Officer include the investigation of violent criminal street gangs,

 narcotics traffickers, firearm traffickers, as well as the illegal possession and use of firearms. I

 have participated in numerous investigations of criminal violations relating to illegal firearms

 possession, firearms trafficking, and shooting investigations. I have participated in the execution

 of search warrants and arrests related to the above-referenced offenses. By virtue of my experience

 and training, I am familiar with residential search warrants. Throughout this Affidavit, reference

 to "investigators" specifically refers to criminal investigators.
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        4.      I know based on my training and experience that individuals who possess firearm

 and ammunition, as felons or otherwise, often possess other items commonly used or acquired in

 connection with the possession of firearms and ammunition. Some of these items include, but are

 not limited to, other firearms, firearm parts, additional ammunition, firearm receipts, firearms

 brochures or owner's manuals, records of sale or acquisition of firearms, firearms magazines, and

 holsters.

         5.     I know based on my training and experience that individuals who possess the

 above-described items (i.e., firearms, ammunition, and other items commonly used or acquired in

 connection with the possession of firearms and ammunition), as felons or otherwise, often store

 those items-including firearms and ammunition-in their homes or cars, so that the firearms and

 ammunition are easily accessible. I also know that firearms are durable and non-perishable goods,

 which can be expected to remain in the individual's possession for extended periods of time.

         6.     The facts in this Affidavit come from my personal observations, my training and

 experience, and information obtained from other investigators and witnesses. This Affidavit is

 intended to show merely that there is sufficient probable cause for the requested warrant and does

 not set forth all my knowledge about this matter.

         7.     Based on my training and ellperience and the facts as set forth in this Affidavit,

 there is probable cause to believe that violations of Title 18, United Sates Code, Section 922(g)( I)

 (felon in possession of firearm) has been committed by Matthew KRONK. There is also probable

 cause to search the SUBJECT PREMISES described in Attachment A for evidence,

 instrumentalities, and/or fruits of this crime, as further described in Attachment B.




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                         APPLICABLE STATUTES AND DEFINITIONS

        8.        Title 18, United States Code, Section 922(g)(l) makes it a federal crime for a person

 to knowingly possession a firearm after being convicted of a crime punishable by imprisonment

 for a term exceeding one year.

                                       CRIMINAL HISTORY

        9.        KRONK has the following felony convictions that could result in a sentence of

 more than one year in prison.

               a. On or about November 30, 2001, KRONK was sentenced in the Franklin County,

                  Ohio Court of Common Pleas, Case OI CROO 1416, for one ( 1) count of discharging

                  a firearm, a felony of the second degree.

               b. On or about November 10, 2003, KRONK was sentenced in the Franklin County,

                  Ohio Court of Common Pleas, Case 02CR005374, for four ( 4) counts of trafficking

                  in drugs, which arc felonies of the fourth degree, and one count of receiving stolen

                  property, a felony of the fourth degree.

               c. On or about November 30, 2010, KRONK was sentenced in the Franklin County,

                  Ohio Court of Common Pleas, Case l 0CR000615, for one ( 1) count of possession

                  of drugs, a felony of the third degree.

                                             PROBABLE CAUSE

         11.      This Affidavit is submitted for the limited purpose of establishing probable cause

 and therefore contains only a summary of the relevant facts. I have not included each and every

 fact that I, or others, have learned during the course of this investigation. The information set forth

 in this Affidavit is based on my own participation in the investigation, information I have received

 from other law enforcement officials, and from my other agents• analysis of documents and records


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 relating to this investigation. As one of the case agents on this investigation. I am familiar with

 the investigative efforts of other investigators who have worked on this investigation. Further, I

 am familiar with the evidence gathered through the issuance of search warrants, subpoenas, and/or

 information provided to myself and other agents by cooperating individuals.

         12.    Law enforcement, including ATF and CPD, is conducting a criminal investigation

 of Matthew KRONK for violations of Title 18, United Sates Code, Section 922{g)(l) (felon in

 possession of firearm) .

         13.    On or about September 2, 2021, investigators received information from a reliable

 Confidential Informant (Cl), hereinafter referred to as CS 1. CS l has given credible information

 in the past that investigators have been able to independently verify as accurate. CS l is an associate

 of KRONK and has known him for several years.

         14.    CS l stated a male named Matthew KRONK is a large narcotics dealer in the south

 side of Columbus, Ohio. CS I stated KRONK sells large amounts of Pcrcocet pills, cocaine, and

 marijuana. CSl stated KRONK owns a home at 1605 Koebel Rd (the SUBJECT PREMISES)

 where KRONK stores his illegal narcotics, firearms, and bulk cash he makes selling narcotics.

 CS l stated KRONK recently purchased a home at 2665 S. High St. and used the proceeds from

 his narcotic sales to completely remodel the home.

         15.    CSI stated KRONK has a few firearms inside of2665 S. High St. for his protection

 but is keeping the SUBJECT PREMISES as his stash house for his illegal activities. Your Affiant

 knows from training and experience that the term stash house is used to describe a place where

 firearms and narcotics are stored.

         16.    On or about September 20, 2021, a CPD investigation listed Matthew KRONK as

 a suspect related to an aggravated menacing. The caller called CPD and stated that Matt KRONK



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 pulled up in the caller's parking lot, pointed a gun in the caller's face, and told the caller he will

 be back to shoot him and shoot up the business.

         17.    The caller stated that KRONK was in a newer black Chevy pickup truck and had

 two mean pit bulls and a female with him. The caller stated that the female was hysterically crying

 and hunched over staring at her feet. The caller stated that when the female looked up at him, she

 looked terrified. When CPD Officers arrived at the scene they were met by the caller.

         18.    The caller told officers that KRONK pointed a gun at him and stated, "I' 11 fucking

 shoot you," and then stated, "I'm Matthew KRONK, everyone knows me," before driving

 off. Columbus Police officers subsequently showed the caller a Columbus Police mugshot of

 KRONK, and the caller positively identified KRONK as the suspect.

         19.    On or about October 5, 2021, at approximately 5:08 a.m., investigators conducted

 a trash pull from 2665 S. High St., Columbus Ohio 43207. Detectives found an Ohio BMV

 registration card that was in Matthew KRONK's name, mail from United Healthcare that was

 addressed to Matthew KRONK, an advertisement mail that was in Matthew KRONK's name, a

 hospital bracelet that was in Matthew KRONK's name with his birth date of 9/3/1992, a WOW

 internet bill that was in Matthew KRONK's name that listed Matthew KRONK's phone number

 as (614) 256-6758, an AEP Ohio bill in Matthew KRONK's name, and a pill bottle that had

 Matthew KRONK's name on the bottle. All the mail and documents that had Matthew KRONK's

 name on them listed an address of the SUBJECT PREMISES.

         20.    In or around late January of, 2022, a Confidential Source (CS), hereafter referred

 to as CS2, went with KRONK to the SUBJECT PREMISES after CS2 and KRONK had both been

 drinking alcohol. CS2 stated that inside of KRONK's bedroom, he/ she observed four (4) to five

 (5) firearms in plain sight. CS2 stated that there was a TV in the bedroom that showed multiple
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 surveillance cameras around the SUBJECT PREMISES. CS2 stated that there was a dog present.

 CS2 stated the home had a large red fence around it. Investigators were able to independently

 corroborate several of CS2's statements via physical and electronic surveillance. CS2 identified

 as photo of KRONK.        Law enforcement therefore deems CS2 to be a credible source of

 information.

        21.     On or about March 1, 2022, CS 1 provided additional information to investigators.

 CS 1 stated KRONK was living at the SUBJECT PREMISES. CS I stated KRONK had moved

 his firearms and narcotics into the SUBJECT PREMISES from another residence. CS 1 stated

 KRONK has an extensive surveillance system and a large dog at the SUBJECT PREMISES. CS I

 stated that KRONK had recently purchased a black Jeep. Investigators were able to independently

 corroborate several of CS 1's statements via physical and electronic surveillance. In addition, the

 investigation has indicated that, as detailed below, KRONK did recently purchase a black Jeep.

                     ADDITIONAL TIES TO THE SUBJECT PREMISES

        22.     Records from the Franklin County Auditor's Office show that KRONK is the listed

 owner of the SUBJECT PREMISES. KRONK purchased the SUBJECT PREMISES on or about

 June 10, 2014, for $13,500.

        23.     On or about February 10, 2022, KRONK purchased a 2017 Black Jeep Grand

 Cherokee. KRONK registered the vehicle to the SUBJECT PREMISES.

        24.     During the month of February 2022, a detective with the Columbus Division of

 Police attempted to contact KRONK as part of a separate investigation. The detective sent a letter

 to the SUBJECT PREMISES. The detective was then contacted by a lawyer representing

 KRONK.




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        25.     On or about March 15, 2022, investigators conducted surveillance at the

 PREMISES. Investigators observed the black Jeep Grand Cherokee registered to KRONK leave

 the PREMISES. Due to the vehicles high rate of speed and disregard of traffic signals investigators

 were not able to confirm KRONK as the driver.

        26.     On or about March 16, 2022, investigators observed the black Jeep Grand Cherokee

 registered to KRONK parked at a car wash in Grove City Ohio. KRONK was observed vacuuming

 the vehicle. KRONK was observed operating the vehicle and was the lone occupant.

        27.     Based on the totality of the facts and circumstances described above, Your Affiant

 respectfully submits that probable cause exists that KRONK, a convicted felon, did knowingly and

 intentionally possess a firearm and ammunition, said firearm and ammunition having travelled in

 interstate commerce, in violation of Title 18 U.S.C. § 922(g)(l), felon in possession of a firearm

 or ammunition. Furthermore, Your Affiant respectfully submits that probable cause exists that

 evidence of 18 U.S.C. § 922(g)(l) including items listed in Attachment B, will be found at the

 SUBJECT PREMlSES.




                                                      R•v~ -~~--
                                                      Samuel Chappell
                                                      Task Force Officer, ATF

 Sworn to via telephone on this _ 17 day of March, 2022,
 after submission by reliable electronic means.
 Fed.R.Crim.P. 4.1 and 41 (d)(3).
                                                         (TI.k_.    "'t.l ) ~
                                                        ~          . VASCURA
                                                        UNITED S"rATES MAGlSTRATE JUDGE




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                                          Attachment A


                                      Places to be Searched


        The place to be searched is the residence described below, including all its appurtenances,

 parking areas, outdoor working areas, vehicles, and detached buildings:

         The SUBJECT PREMISES, that being 1605 Koebel Road, Columbus, Ohio 43207, is a

 single-family one-story home with an attic. The residence ha,; cream-colored siding and a red

 wooden fence around it. A gravel driveway leads from the road to front door. There is a black

 mailbox with the numbers 1605 located at the beginning of the driveway. A photo of the location

 is attached.




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                                         Attachment B

                                       Items to be Seized


    I. Firearms and ammunition, as evidence related to potential violation(s) of 18 U.S .C. §

       922(g)(l).

    2. Firearm parts, accessories, and items commonly used or associated with the possession of

       firearms, including conversion devices, ammunition, firearm magazines, and holsters.

    3. Documents related to the purchases or transfer of firearms and ammunition.

    4. Items of identification and records that establish dominion and control of the SUBJECT

       PREMISES, including, but not limited to, any forrn(s) of identification, residence keys,

       mail, envelopes, receipts for rent, bills, and photographs.




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